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  6
  7
  8
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11
 12   VERONICA MATHIAS, an                  Case No.: 2:19-cv-10209-TJH-PLA
      Individual,
 13
                         Plaintiff,
 14                                         NOTICE OF MOTION AND MOTION
                         v.                 FOR ENTRY OF DEFAULT
 15                                         JUDGMENT; MEMORANDUM OF
      REDONDO BEACH PROPERTIES              POINTS AND AUTHORITIES IN
 16   INC., a California corporation, and   SUPPORT THEREOF;
      Does 1-100,
 17                                         DECLARATION OF TIMOTHY G.
                         Defendants.        MCFARLIN IN SUPPORT THEREOF;
 18
                                            DECLARATION OF PLAINTIFF
 19                                         VERONICA MATHIAS IN SUPPORT
                                            THEREOF;
 20
                                            AND [PROPOSED] ORDER.
 21
 22                                         Hearing:
                                            Date: Monday, March 29, 2021
 23                                         Time: UNDER SUBMISSION
                                            Place: U.S. District Court
 24                                                Courtroom #9B
                                                   350 W. 1st Street, 9th Floor
 25                                                Los Angeles, California 90012
 26
 27                                         Date Action Filed: December 2, 2019
                                            Trial Date: Not Yet Set.
 28
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                                       NOTICE OF MOTION AND MOTION FOR ENTRY OF DEFAULT JUDGMENT
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  1   TO THE HONORABLE COURT AND ALL PARTIES:
  2         PLEASE TAKE NOTICE THAT ON March 29, 2021, in Courtroom #9B of
  3   United States District Court, Central District of California, 350 W. 1st Street, 9th
  4   Floor, Los Angeles, California, Plaintiff VERONICA MATHIAS (“Plaintiff”), by
  5   way of the undersigned counsel, hereby moves this Court for entry of a default
  6   judgment as to Defendant REDONDO BEACH PROPERTIES INC. (“Defendant”),
  7   upon the complaint heretofore filed and served upon the Defendant, in accordance
  8   with the provisions of Rule 55(b)(2), Federal Rules of Civil Procedure, and in
  9   support thereof shows the Court the following:
 10   1.    On or around December 2, 2019, Plaintiff filed in the United States District
 11   Court, Central District of California, Southern Division, a complaint alleging
 12   certain and specific violations of the Americans with Disabilities Act of 1990, 40
 13   U.S.C. Section 12101, et seq. (“ADA”) and for certain and specific violations of the
 14   Unruh Civil Rights Act, California Civil Code § 51, et. seq. (“UCRA”). A copy of
 15   said Complaint is attached hereto as Exhibit A and is incorporated herein by
 16   reference.
 17   2.    On or around May 22, 2020 at 6:17 p.m., a copy of said Complaint, along
 18   with the Summons, Civil Cover Sheet, Notice to Parties: ADA Disability Access
 19   Litigation, and Certification and Notice of Interested Parties was served upon
 20   Aaron Kram, an individual authorized to accept service on behalf of Defendant, at
 21   22909 De Kalb Drive, Calabasas, CA 91302. The copy of said documents were
 22   subsequently served again by mail on June 3, 2020. A copy of the Proof of Service
 23   filed with the Court on July 27, 2020 and process receipt is attached hereto as
 24   Exhibit B and is incorporated herein by reference.
 25   3.    On or about August 7, 2020, more than 21 days after the service of the
 26   Complaint, Summons, Civil Cover Sheet, Notice to Parties: ADA Disability Access
 27   Litigation, and Certification and Notice of Interested Parties was served upon
 28   Aaron Kram, an individual authorized to accept service on behalf of Defendant,
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  1   Counsel for Plaintiff petitioned the Clerk of this Court for entry of a default
  2   judgment against Defendant. On or about October 2, 2020, Default by Clerk as to
  3   Defendant Redondo Beach Properties, Inc. was entered. A copy of the Default by
  4   Clerk is attached hereto as Exhibit C and is incorporated herein by reference. No
  5   response to any pleading or non-litigious correspondence has been received by
  6   Plaintiff or his counsel.
  7   4.    Defendant has failed to plead or otherwise defend this action, and Plaintiff is
  8   entitled to judgment by default against Defendant.
  9   5.    Pursuant to the provisions of Rule 55(b)(2), Federal Rules of Civil
 10   Procedure, this Court is empowered to enter a default judgment against Defendant
 11   for relief sought by Plaintiff in his Complaint, and written notice of this action has
 12   been given to Defendant as set forth in the attached affidavit.
 13                                          PRAYER
 14         WHEREFORE, Plaintiff prays that this Court enter a judgment of Default
 15   against Defendant, and that Defendant be enjoined and retained from the Americans
 16   with Disabilities Act of 1990, 42 U.S.C. Section 12101, et seq. as provided in the
 17   proposed Final Judgment filed concurrently with this motion.
 18                                       AFFIDAVIT
 19         I, Timothy G. McFarlin, do hereby certify that the statements and allegations
 20   set forth in the foregoing motion and the accompanying memorandum are true and
 21   accurate to the best of my knowledge and belief.
 22
 23                                          Respectfully submitted,
 24   DATED: February 26, 2021               MCFARLIN LLP
 25
                                       By:   /s/ Timothy G. McFarlin
 26                                          ____________________________
                                             Timothy G. McFarlin
 27                                          Attorneys for Plaintiff
                                             VERONICA MATHIAS
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2         Plaintiff VERONICA MATHIAS (“Plaintiff”) Complaint was filed in federal
  3   court on December 2, 2019. The Proof of Service for Defendant REDONDO
  4   BEACH PROPERTIES INC. (“Defendant”) was filed on July 27, 2020. Defendant
  5   never responded to the summons and complaint. A Request for Entry of Default
  6   was filed on August 7, 2020. Default was entered by Clerk as to Defendant on
  7   October 2, 2020.
  8                      I.    CONCISE FACTUAL STATEMENT
  9         Plaintiff is an adult California resident with disabilities.        Plaintiff has a
 10   Disabled Person Parking Placard issued to him by the State of California. Plaintiff
 11   is substantially limited in performing one or more major life activities, including
 12   but not limited to: walking, standing, ambulating and sitting. As a result of these
 13   disabilities, Plaintiff relies upon mobility devices to ambulate. With such
 14   disabilities, Plaintiff qualifies as a member of a protected class under the Americans
 15   with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) and the regulations
 16   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. See Plaintiff’s
 17   Complaint (“Complaint”) ¶ 1.
 18         Plaintiff went to Defendant’s business (the “Business”) on or about August
 19   13, 2019, to inquire about registering for a music course. Unfortunately, although
 20   parking spaces were one of the facilities reserved for patrons, there were no
 21   designated parking spaces available for persons with disabilities that complied with
 22   the Americans with Disability Act Accessibility Guidelines (“ADAAG”) on August
 23   13, 2019. [Complaint ¶ ¶ 11-14].
 24         Instead of having architectural barrier free facilities for patrons with
 25   disabilities, Defendant has: a built-up curb ramp that projects from the sidewalk and
 26   into the access aisle (Section 406.5). Furthermore, the curb ramp is in excess of the
 27   maximum grade allowed by ADAAG specifications (Section 406.1). Therefore,
 28   currently, there is no compliant designated disabled parking serving the Business
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  1   which is designed for persons with disabilities. Plaintiff alleges Defendants had no
  2   policy or plan in place to make sure that there was a compliant accessible access
  3   parking reserved for persons with disabilities prior to August 13, 2019, and that
  4   Defendant has no policy or plan in place to make sure that the designated disabled
  5   parking for persons with disabilities comport with the ADAAG. [Complaint ¶ ¶ 15-
  6   18].
  7          The designated disabled parking spaces for use by persons with disabilities
  8   are a tip over, crash, fall hazard or trip hazard because it contains a built-up curb
  9   ramp and cross slopes. Plaintiff personally encountered these barriers.              These
 10   inaccessible conditions denied the Plaintiff full and equal access and caused her
 11   difficulty, humiliation and frustration. [Complaint ¶ ¶ 19-21].
 12          Plaintiff is being deterred from patronizing the Business and its
 13   accommodations on particular occasions, but intends to return to the Business for
 14   the dual purpose of availing herself of the goods and services offered to the public
 15   and to ensure that the Business ceases evading its responsibilities under federal and
 16   state law. The Defendant has failed to maintain in working and useable conditions
 17   those features required to provide ready access to persons with disabilities. The
 18   violations identified above are easily removed without much difficulty or expense.
 19   They are the types of barriers identified by the Department of Justice as presumably
 20   readily achievable to remove and, in fact, these barriers are readily achievable to
 21   remove. Moreover, there are numerous alternative accommodations that could be
 22   made to provide a greater level of access if complete removal were not achievable.
 23   [Complaint ¶ ¶ 22-24].
 24                                   II.   ARGUMENT
 25          Rule 55 of the Federal Rules of Civil Procedure allows for judgment to be
 26   had in a case of this type when the defendant fails to answer the Complaint. In this
 27   case, Defendant REDONDO BEACH PROPERTIES INC. was served with the
 28   Summons and Complaint evidenced by the Proof of Service of Summons filed with
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                                                           MEMORANDUM OF POINTS AND AUTHORITIES
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   1   this court.    As detailed in the Declaration of Plaintiff’s counsel, Defendant
   2   REDONDO BEACH PROPERTIES INC are neither infants nor incompetent
   3   persons nor in military service or otherwise exempted under the Soldiers’ and
   4   Sailors’ Civil Relief Act of 1940. See Declaration of Timothy G. McFarlin ¶ 8.
   5         Defendant REDONDO BEACH PROPERTIES INC. was on notice as to
   6   what Plaintiff was seeking as it was served the Complaint which references with
   7   specificity in Plaintiff’s Prayer for Relief the fact that Plaintiff was seeking:
   8         1.      A preliminary and permanent injunction enjoining Defendant from
   9        further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil
  10        Code § 51 et seq. with respect to its operation of the Business and Property;
  11        Note: Plaintiff is not invoking section 55, et seq, of the California Civil Code
  12        and is not seeking injunctive relief under the Disable Persons Act (Cal. C.C.
  13        §54) at all.
  14         2.      An award of actual damages and statutory damages of not less than
  15        $4,000 per violation pursuant to § 52(a) of the California Civil Code.
  16         3.      An additional award of $4,000.00 as deterrence damages for each
  17        violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S.
  18        Dist. LEXIS 150740 (USDC Cal, E.D. 2016);
  19         4.      For reasonable attorneys' fees, litigation expenses, and costs of suit,
  20        pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
  21   See Complaint and prayer. The Plaintiff is entitled to the relief that he has prayed
  22   for in his Complaint.
  23         A. The Americans with Disabilities Act
  24         Under Title III of the ADA, the general rule is that: “No individual shall be
  25   discriminated against on the basis of a disability in the full and equal enjoyment of
  26   the goods, services, facilities, privileges, advantage, or accommodations of any
  27   place of public accommodation by any person who owns, leases (or leases to), or
  28   operates a place of public accommodation.’ 42 U.S.C. § 12182(a). The term
                                                 -3-
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   1   “discrimination” is a little misleading:
   2                Although the term “discrimination” evokes images of active
                    discrimination, e.g., a person is expressly forbidden to enter the
   3                premises because of his or her disability, Congress also intended to
   4                eliminate more passive forms of discrimination, e.g., a person is
                    physically unable to enter the premises because it lacks a wheel-chair
   5                accessible entrance. H.R.Rep No. 101-485 (II) at 99 (1990), reprinted
   6                at 1990 U.S.C.C.A.N.303, 382 (a primary purpose of the ADA is to
                    “bring individuals with disabilities into the economic and social
   7                mainstream of American life.)
   8   Independent Living Resources v. Oregon Arena Corp., 982 F. Supp 698, fn. 1 (D.
   9   Ord 1997). The scope of the Act covers not only intentional discrimination, but
  10   also the discriminatory effects of “benign neglect, apathy, and indifference.” Helen
  11   L. v. DiDario, 46 E.3d 325, 335 (3rd Cir 1995) (internal quotations omitted).
  12         To succeed on this Title III, ADA claim, Plaintiff must, “establish that (1) he
  13   is disabled within the meaning of the ADA; (2) that the defendant’s own, lease, or
  14   operate a place of public accommodation; and (3) that the defendants discriminated
  15   against the plaintiff within the meaning of the ADA.” Roberts v. Royal Atlantic
  16   Corp., 542 F.3d 363, 368 (2nd Cir 2008). Under Title III of the ADA, one form of
  17   discrimination is defined as failure to remove architectural barriers unless they are
  18   not readily achievable to remove. 42 U.S.C. § 12182(b)(2)(A)(iv).               Thus, the
  19   following is a simplified statement of the elements necessary for the plaintiff to
  20   prove discrimination under this section:
  21         1. The plaintiff must be disabled. 42 U.S.C. § 12102(a);
  22         2. Defendant’s facility must be a place of “public accommodation” and,
  23            therefore, governed by Title III of the ADA. 42 U.S.C. § 12182(a);
  24         3. Defendant’s facility must have had unlawful architectural barriers. 42
  25            U.S.C. § 12182(b)(2)(A)(iv).
  26         4. The plaintiff must have encountered the architectural barrier precluding
  27            him full and equal access to the facility. 42 U.S.C. § 12188(a).
  28         In this case, Plaintiff’s civil rights were violated because Defendant failed to
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   1   provide access to the parking lot at 633 N. Pacific Coast Hwy, Redondo Beach, CA
   2   90277. Plaintiff will discuss each element, seriatim.
   3                  1. Plaintiff is Disabled.
   4            Plaintiff is an individual with disabilities. She is an adult California resident.
   5   Plaintiff is substantially limited in performing one or more major life activities,
   6   including but not limited to: walking, standing, ambulating, sitting, and twisting,
   7   turning, and grasping objects. As a result of these disabilities, Plaintiff relies upon
   8   mobility devices to ambulate.         With such disabilities, Plaintiff qualifies as a
   9   member of a protected class under the Americans with Disabilities Act (“ADA”),
  10   42 U.S.C. §12102(2) and the regulations implementing the ADA set forth at 28
  11   C.F.R. §§ 36.101 et seq. At the time of Plaintiff visits to Defendant’s facility and
  12   prior to instituting this action, Plaintiff suffered from a “qualified disability” under
  13   the ADA, including those set forth in this paragraph. Plaintiff is also the holder of a
  14   Disabled Person Parking Placard.
  15                  2. The Defendant’s Business is a Public Accommodation
  16            Defendant’s Business is a sales establishment specializing in music and
  17   dance training. A sales establishment is expressly identified as a place of public
  18   accommodation and subject to the Title III of the ADA.                    See 42 U.S.C. §
  19   12181(7)(a).
  20                  3. The Business Presented Physical Barriers.
  21            In the present case, the lack of access in and around the parking lot and
  22   pathways located on Defendant’s property, are barriers to Plaintiff. Barriers are
  23   determined by reference to the American with Disabilities Act Accessibility
  24   Guidejlines (“ADAAG”). Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945
  25   (9th Cir. 2011).
  26            Any business that provides parking spaces must provide accessible parking
  27   space.     1991 Standards § 4.1.2(5). 2010 Standards § 208.                Under the 1991
  28   Standards, parking spaces and access aisles must be level with surface slopes not
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   1   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
   2   Standards, access aisles shall be at the same level as the parking spaces they serve.
   3   Changes in level are not permitted. 210 Standards § 502.4. “Access aisles are
   4   required to be nearly level in all directions to provide a surface for wheel chair
   5   transfer to and from vehicles.” 2010 Standards § 502.4 Advisory. Specifically,
   6   built up curb ramps are not permitted to project into access aisles and parking
   7   spaces. Id. No more than a 1:48 slope is permitted. Standards § 502.4.
   8         Plaintiff experienced the following at the Business and Property: there were
   9   no designated parking spaces available for persons with disabilities that complied
  10   with the ADAAG, instead of having architectural barrier free facilities for patrons
  11   with disabilities, Defendant has: a built-up curb ramp that projects from the
  12   sidewalk and into the access aisle (Section 406.5). Furthermore, the curb ramp is in
  13   excess of the maximum grade allowed by ADAAG specifications (Section 406.1).
  14   Therefore, currently, there is no compliant designated disabled parking serving the
  15   Business which is designed for persons with disabilities. Defendant has no policy
  16   or plan in place to make sure that the designated disabled parking for persons with
  17   disabilities comport with the ADAAG. The designated disabled parking spaces for
  18   use by persons with disabilities are a tip over, crash, fall hazard or trip hazard
  19   because it contains a built-up curb ramp and cross slopes.
  20         A public accommodation must maintain in operable working condition those
  21   features of its facilities and equipment that are required to be readily accessible to
  22   and usable by persons with disabilities. 28 C.F.R. § 36.211 (a).
  23         A failure to make alterations in such a manner that, to the maximum extent
  24   feasible, the altered portions of the facility are readily accessible to and useable by
  25   individuals with disabilities, including individuals who use wheelchairs, or to
  26   ensure that, to the maximum extent feasible, the path of travel to the altered area are
  27   readily accessible to and usable by individuals with disabilities.           42 U.S.C. §
  28   12183(a)(2).
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   1         Here, the failure to ensure that accessible facilities were available and ready
   2   to be used by Plaintiff is a violation of the law.
   3         Whether or not the removal of these barriers is “readily achievable” is an
   4   affirmative defense that is waived unless raised. Wilson v. Haria and Gogri Corp.,
   5   479 F.Supp.2d 1127, 1133 and fn. 7 (E.D. Cal. 2007) (if a defendant “has failed to
   6   plead that barrier removal is not readily achievable in its answer…the defense is
   7   waived” and, in such circumstances, the plaintiff need “not come forward with any
   8   evidence regarding barrier removal….”).         Here, this is not an issue raised in
   9   contention. Moreover, the complaint allegation that a defendant failed to meet their
  10   barrier allegation is sufficient in a default judgment setting. Vogel v. Rite Aid
  11   Corp., 992 F.Supp.2d 998 (C.D. Cal. 2014) (compiling cases and holding that a
  12   defendant cannot meet their burden on the issue where they fail to appear and
  13   defend).
  14                4. Summary
  15         Plaintiff is disabled. The Defendant’s business has unlawful barriers. The
  16   Defendant has failed to remove those barriers and violated the American with
  17   Disabilities Act. Plaintiff is entitled to an order requiring Defendant to remove
  18   those unlawful barriers. See 42 U.S.C. § 12188.
  19         B. The Unruh Civil Rights Act.
  20   The Unruh Civil Rights Act provides that “a violation of the right of any individual
  21   under the Americans with Disabilities Act 1990 shall also constitute a violation of
  22   this section.” Cal. Civ. Code § 51 (f).         Under the Unruh Act, a party that
  23   discriminates against a plaintiff in violation of Civ. Code § 51 shall be liable for
  24   actual damages, up to three times actual damages but “in no case” less that
  25   $4,000.00 for each time that he was discriminated against. Cal. Civ. Code § 52(a).
  26   In the present matter, the Plaintiff is asking for once statutory minimum penalty
  27   assessments of $4,000.00 pursuant to California Civil Code § 52, and the actual
  28
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   1   attorney fees and costs that he has incurred in the amount of $4,647.00. See
   2   Declaration of Timothy G. McFarlin ¶9.
   3                        III. THE EITEL FACTORS SUPPORT
   4                        GRANTING SUMMARY JUDGMENT
   5         Once a party’s default has been entered, the factual allegations of the
   6   complaint, except those concerning damages, are deemed to have been admitted by
   7   non-responding party. See Fed. R.Civ.Proc. 8(b)(6); see also, e.g., Geddes v.
   8   United Fin.Group, 559 F.2d 557, 560 (9th Cir. 1977) (stating the general rule that
   9   “upon default [,] the factual allegations of the complaint, except those relating to
  10   the amount of damages, will be taken as true’).
  11         Nonetheless, “[t]he district court’s decision whether to enter default
  12   judgment is discretionary one.” Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir.
  13   1980).
  14         The Ninth Circuit has directed that courts consider the following factors in
  15   deciding whether to enter default judgment: (1) the possibility of prejudice to
  16   plaintiff, (2) the merits of plaintiff’s substantive claims; (3) the sufficiency of the
  17   complaint, (4) the sum of money at stake in this action; (5) the possibility of a
  18   dispute concerning materials facts; (6) whether defendant’s default was the product
  19   of excusable neglect, and (7) the strong public policy favoring decisions on the
  20   merits.   See Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986).                      A
  21   consideration of these merits favors granting default judgment.
  22      A. Possibility of Prejudice to Plaintiff
  23         Plaintiff, a disabled person, has alleged that she suffered and continues to
  24   suffer discrimination due to the Defendant’s failure to comply with the ADA and
  25   Unruh. When a defendant has failed to appear and defend the claims, a plaintiff
  26   will be without recourse and suffers prejudice unless the default judgment is
  27   entered. Vogel v. Rite Aid Corp., 992 F.Supp.2d 998 (C.D. Cal. 2014) (granting a
  28   default judgment for a disabled plaintiff suing under the ADA and Unruh, replying
                                                -8-
                                                             MEMORANDUM OF POINTS AND AUTHORITIES
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   1   upon this rationale).
   2         B. The Merits of the Plaintiff’s Claim and Sufficiency of the Claim.
   3            These two Eitel are discussed above under section III of this brief. Plaintiff
   4   has sufficiently stated a meritorious claim.
   5         C. The Sum of Money at Stake.
   6            The fourth Eitel factors balances “the amount of money at stake in relation to
   7   the seriousness of the [d]efendant’s conduct.” PepsiCo, Inc v. California Sec. Cans,
   8   238 F.Supp. 2d 1172, 1176 (C.D. Cal 2002). “Default judgment is disfavored
   9   where the sum of money at stake is too large or unreasonable in relation to
  10   defendant’s conduct.” Vogel, supra, at *8. Plaintiff seeks a total of $4,647.00.
  11   “Courts frequently grant default judgment in Unruh Act and ADA cases and impose
  12   similar financial liabilities on the defendant.” Id. at *9 (finding $13,739.20 was
  13   reasonable and collecting other cases where $10,119.70 and $12,000.00 were also
  14   reasonable and, in fact, “a relatively small award of damages” in similar ADA
  15   cases).
  16         D. The Possibility of Dispute
  17            Where there is properly pled and supported complaint and the defendant has
  18   failed to oppose the motion, then “no factual dispute exists that would preclude the
  19   entry of default judgment” and these factors “favors the entry of default
  20   judgment….” Id. at *9.
  21         E. The Possibility of Excusable Neglect.
  22            While there is always a “theoretical possibility” that the Defendant might
  23   show up claiming excusable neglect, where the Defendants “were properly served
  24   with the Complaint, the notice of entry of default, as well as the papers in support
  25   of the instant motion,” this factor favors an entry of default judgment. Shanghai
  26   Automation Instrument Co., Ltd. v. Kuei, 194 F. Supp. 2d 995, 1005 (N.D. Cal.
  27   2001)
  28   ///
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                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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   1      F. Policy Favoring Decision on the Merits.
   2         “Cases should be decided upon their merits whenever reasonable possible.”
   3   Eitel, 782 F.2d at 1472. The fact that Rule 55(b) exits demonstrates that “this
   4   preference, standing along, is not dispositive.” PepsiCo, 238 F.Supp.2d at 177
   5   (reasoning that “Defendant’s failure to answer Plaintiffs’ Complaint makes a
   6   decision on the merits impractical, if not impossible”). Given that the Defendant
   7   failed to appear and defend, the seventh Eitel factor does not preclude the entry of
   8   default judgment.
   9                   IV.   REQUEST TO AFFIX ATTORNEY FEES
  10         Plaintiff’s rights were violated under Title III of the Americans with
  11   Disabilities Act and the Unruh Civil Rights Act. Under both Title III of the ADA
  12   and Unruh Civil Rights Act, a prevailing plaintiff is entitled to an award of
  13   reasonable attorney fees. See 42 U.S.C. § 12205; Cal. Civ. § 52(a). With these
  14   cases, it is inappropriate to use the default fee schedule under Local Rule 55.
  15         First, a cause of action under the Title III of the ADA does not allow for
  16   damages. Goodwin v. C.N.J., Inc., 436 F.3d 44, 50 (1dt Cir. 2006) (“money
  17   damages are not an option for private parties suing under Title III of the ADA.”)
  18   Thus, a reasonable attorney fee award cannot be calculated in a Title III ADA case
  19   by reference to the Local Rule schedule. Because the sole remedy under the
  20   particular case of action is equitable, one cannot calculate the “amount of judgment
  21   to arrive at a fee award.     In other words, because the Plaintiff is entitled to
  22   injunctive relief under ADA – not damages – the amount of a “reasonable” fee
  23   cannot be determined by the schedule. “Indeed, in lawsuits under the ADA itself
  24   (unlike the California Civil Rights statutes), only injunctive relief is available and
  25   no damages are available. ADA Title III damages are always zero; yet Congress
  26   specifically offered statutory attorney fees as incentive to encourage attorneys to
  27   handle these important cases.” Blackwells v. Foley, 724 F.Supp.2d 1068, 1077
  28   (N.D. Cal. 2010).
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   1         Second, it would be inappropriate to use the local rule fee schedule to
   2   determine a reasonable fee for pursuing these civil rights claims. The fee schedule
   3   creates a proportionality rule between damage recovery and attorney fee award.
   4   This has been expressly rejected by the Supreme Court for use in civil rights cases.
   5   See City of Riverside v. Rivera, 477 U.S. 561, 578 (1986) (“A Rule of
   6   proportionality would make it difficult, if not impossible, for individuals with
   7   meritorious the clients’ claims might be, attorneys simply would not take these
   8   cases. This would be contrary to legislative determinations that statutory attorney
   9   fees should encourage attorneys to represent disabled persons.” Id.
  10         In sum, it is simply inappropriate to tie the amount of recoverable attorneys’
  11   fees to the amount of monetary recovery in these small dollar civil rights cases.
  12   Plaintiff requests this Court affix the attorneys’ fees.
  13                                   V.      CONCLUSION
  14         Plaintiff respectfully request this Court grant his application for default
  15   judgment and issue the proposed judgment.
  16   DATED: February 26, 2021                 MCFARLIN LLP
  17
  18                                     By:    /s/ Timothy G. McFarlin____________
                                                Timothy G. McFarlin
  19                                            Attorneys for Plaintiff
  20                                            VERONICA MATHIAS

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Case
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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                            CASE NUMBER:

   VERONICA MATHIAS
                                                               2:19−cv−10209−TJH−PLA
                                        PLAINTIFF(S)

                             v.

   REDONDO BEACH PROPERITES, INC., et al.

                                                                           DEFAULT BY CLERK
                                                                             F.R.Civ.P. 55(a)
                                     DEFENDANT(S).




        It appearing from the records in the above−entitled action that summons has been served upon the
   defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
   evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
   defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

        Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
   hereby entered:

    Redondo Beach Properites, Inc., a California Corporation




                                                          Clerk, U.S. District Court

     October 2, 2020                                      By /s/ Sharon Hall−Brown
   Date                                                   Deputy Clerk

   CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
